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 5
 6                     IN THE UNITED STATES DISTRICT COURT
 7                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,              )
 9                                          )    2:10-cv-03383-GEB-CMK
                    Plaintiff,              )
10                                          )
              v.                            )    RELATED CASE ORDER
11                                          )
     REAL PROPERTY LOCATED AT 4040          )
12   TIN RANCH ROAD, GEORGETOWN,            )
     CALIFORNIA, EL DORADO COUNTY,          )
13   APN: 062-030-31-100, INCLUDING         )
     ALL APPURTENANCES AND                  )
14   IMPROVEMENTS THERETO,                  )
                                            )
15                 Defendant.               )
     ________________________________       )
16
     UNITED STATES OF AMERICA,              )
17                                          )    2:11-cr-00226-LKK
                    Plaintiff,              )
18                                          )
              v.                            )
19                                          )
     PATRICIA JANE ALBRIGHT, JORDAN         )
20   ROBERT WIRTZ,                          )
                                            )
21                 Defendants.              )
     ________________________________       )
22
               On June 21, 2011, the United States of America filed a “Notice
23
     of Related Cases” in which it states:
24
               [T]he above-entitled actions are related within the
25             meaning of Local Rule 123 because the civil
               forfeiture action and the criminal action arise
26             from the same law enforcement investigation and
               thus involve substantially the same events,
27             transactions, and owners.
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 1                    For the foregoing reasons, the United States
                 respectfully requests that the two cases be
 2               assigned to a single district judge.
 3   (ECF No. 21, 1:26-2:5.)
 4               Examination of the above-entitled actions reveals they are
 5   related within the meaning of Local Rule 123. Under the regular practice
 6   of this court, related cases are generally assigned to the judge to whom
 7   the first filed action was assigned. Therefore, action 2:11-cr-00226 is
 8   reassigned to the undersigned judge for all further proceedings, and the
 9   caption on the reassigned cases shall show the initials “GEB.” Further,
10   any date currently set in the reassigned case is VACATED. The Clerk
11   shall make an appropriate adjustment in the assignment of criminal cases
12   to compensate for this reassignment.
13               IT IS FURTHER ORDERED that a Status Conference is scheduled to
14   commence at 9:00 a.m. on July 22, 2011 in action 2:11-cr-00226.
15   Dated:    June 30, 2011
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17                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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